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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

 SHIRLEY TAVERAS, ET AL.,                   Honorable

       Plaintiffs
                                            Civil Action No.
       V


 AUBENSOR HtrNRY, ET AL.,
                                            NOTICE OF REMOVAL
       Defendants.

To:    Clerk                                 Jay B. Yacker, Esq.
       Superior Court of New Jersey          Thomas D. Glatt, Esq.
       Civil Division, Hudson County         Yacker Glatt, LLC
       583 Newark Avenue                     648 Newark Avenue
       Jersey City, New Jersey 07306         Jersey City, New Jersey 07306

       Michelle M. Smith, Esq., Clerk
       Office of the Superior Court C1erk
       Richard J. Hughes
       Justice Complex
       25W. Market Street
       6th Floor North Wing
       P.O. Box 971
       Trenton, New Jersey 08625

      PLEASE TAKE NOTICE that the case of Shirley Taueras, et al.        u.   Aubensor

Henry, et al., previously pending in the Superior Court of New Jersey, Hudson

County, Civil Division, assigned Docket Number HUD-L-3455-18, is hereby

removed to the United States District Court for the District of New Jersey,
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pursuant to the provisions of 28 U.S.C.       S   2679(d). The Unites States   of America is

hereby substituted for Defendants Aubensor Henry and General Services

Administration pursuant to 28 U.S.C.         S   2679(d)(2). The United States, now

substituted as defendant in this matter, through its attorney, Craig Carpenito,

United States Attorney for the District of New Jersey (Frances C. Bajada, Assistant

United States Attorney, appearing), states as follows upon information and belief:

        1.      Aubensor Henry and the General Services Administration, an agency

of the United States, have been named as defendants in an action now pending            in

the Superior Court of New Jersey, Hudson County, Civil Division and assigned

docket number HUD-L-3455-18. A copy of the summons and complaint is attached

as Exhibit A.

        2.      In the complaint, fiIed on or about August 31, 2018, Plaintiffs Shirley

Taveras and Elianna Taveras seek damages from the Defendants for alleged

personal injuries sustained as a result of tortious conduct by Defendant Aubensor

Henry

        3.      Pursuant to 28 U.S.C.   S   2679(dX2) and 28 C.F.R. S 15.4, the United

States Attorney, through his designee, has certified that Aubensor Henry, an

employee of the United States, was acting within the scope of his employment

during the incident alleged in Plaintiffs' complaint. The certification of scope of

employment is attached as Exhibit B.

        4.      Section 2679b), as amended by the Federal Employees Liability


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Reform and Tort Compensation Act of 1988, Pub. L. No. 100-694, LO2 Stat. 4563

(1988), provides that the Federal Tort Claims Act is the exclusive remedy for tort

claims against the United States. Aubensor Henry has personal immunity and the

United States is the only cogntzable proper defendant as to the Plaintiffs' state law

tort claims alleged against them in this action. Moreover, as a result of the

certification of scope of employment, this action is now deemed to be brought

against the United States. See 28 U.S.C.               S   2679(bX1)

         5.      The United States District Courts have exclusive jurisdiction over tort

actions filed against the United States under the Federal Tort Claims          Act.   See 28

U.S.C.   SS   1346(b) and 267e.

         6.   Federal law directs that "[u]pon certification by the Attorney General

that the defendant employee was acting within the scope of his office or employment

at the time of the incident out of which the claim arose, any civil action or

proceeding commenced upon such claim in a State court shall be remoued without

bond at any time before     trial by the Attorney General to the district court of the

United States for the district and division embracing the place in which the action

or proceeding is    pending."     28 U.S.C.   S   2679(dX2) (emphasis   added). On

information and belief, no trial date for this matter has been set by the Superior

Court of New Jersey

         7. Accordingly, the United States District Court for the District     of New




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Jersey has exclusive jurisdiction over this action under 28 U.S.C. S 1346(b), and this

action is properly removed to this Court pursuant to 28 U.S.C.       S   2679(dX2).

         8.      No answer to the complaint has been filed on behalf of the Defendants

in the Superior Court of New Jersey

         9.   A copy of this Notice of Removal will be fiIed with the Clerk of the

Superior Court of New Jersey, Hudson County, Civil Division.

         THEREFORE, in accordance with 28 U.S.C.         S   2679, the above-captioned

action filed in the Superior Court of New Jersey, Hudson County, Civil Division, is

hereby removed to the United States District Court for the District of New Jersey

with the United States substituted as defendant for further proceedings.

Dated:          Newark, New Jersey
                May 6, 20Lg

                                                 CRAIG CARPENITO
                                                 United States Attorney

                                           By:   s/Frances C. Bajada
                                                 Frances C. Bajada
                                                 Assistant United States Attorney




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